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                                                                  The Honorable Ricardo S. Martinez
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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9
     SEDRICK DEWAYNE ALTHEIMER,
10                                                        NO. 2:21-cv-01437 RSM
                                           Plaintiff,
11                                                        DEFENDANT TROYER’S MOTION
             vs.                                          TO COMPEL DISCOVERY RESPONSES
12                                                        AND FED. R. CIV. P. 35(a)
13   PIERCE COUNTY, WASHINGTON, and                       EXAMINATION
     PIERCE COUNTY SHERIFF EDWARD C.
14   TROYER (a/k/a/ Ed Troyer), in his individual         NOTE ON MOTION CALENDAR:
     and official capacity,                               June 2, 2023                                    Commented [CS1]: NOTE: 12 page limit
15
                                       Defendants.
16
                          I.       INTRODUCTION AND RELIEF REQUESTED
17
             Defendant Edward C. Troyer (“Defendant Troyer”) moves this Court to enter an Order
18
     compelling Plaintiff Sedrick Dewayne Altheimer (“Plaintiff”) to provide complete and accurate
19
     responses to two interrogatories and three requests for production included within Defendant
20
     Troyer’s First Interrogatories and Requests for Production to Plaintiff. Additionally, Defendant
21
     Troyer requests that the Court enter an Order compelling Plaintiff to undergo a mental examination
22
     pursuant to Fed. R. Civ. P. 35(a).
23
                                     II.     STATEMENT OF FACTS
24
             Plaintiff alleges that on the morning of January 27, 2021, Defendant Troyer followed
25
     Plaintiff as he drove his automobile through the neighborhood of N. 27th Street and Deidra Circle
26


     DEFENDANT TROYER’S MOTION TO COMPEL DISCOVERY                      LEDGER SQUARE LAW, P.S.
     RESPONSES AND FED. R. CIV. P. 35(a) EXAMINATION - 1                       710 Market St.
     Cause No. 2:21-cv-01437 RSM                                             Tacoma, WA 98402
                                                                           Phone: (253) 327-1900
                                                                          Facsimile: (253) 327-1700
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 1   in Tacoma, Washington. Plaintiff states that he was delivering newspapers.1 Plaintiff’s claims
 2   stem from Defendant Troyer’s alleged actions and statements that morning.2 Plaintiff contends
 3   that Defendant Troyer is liable for false reporting to police. Plaintiff alleges that Defendant Troyer
 4   falsely reported statements to 911 emergency dispatch that, among other things, Plaintiff made
 5   threats to kill him [Defendant Troyer], falsely reported that he had Plaintiff’s car “blocked in,” and
 6   that Plaintiff physically “pushed against” his vehicle.3
 7           Plaintiff argues that Defendant Troyer violated Plaintiff’s Fourth Amendment and
 8   Fourteenth Amendment due process rights and is liable under 42 U.S.C. § 1983 based on the
 9   following grounds: due process freedom from false arrest, unreasonable search and seizure, and
10   deprivation of liberty based on false reporting.4 Plaintiff further alleges Defendant Troyer violated
11   Plaintiff's equal protection rights under the Fourteenth Amendment to be free of racial animus.5
12           In his Complaint, Plaintiff alleges that he was “traumatized” and “has had to make life
13   changing alterations to both his work and his personal life because of the trauma he faced as a
14   result of” Defendant Troyer’s alleged conduct.6 Plaintiff states that he has “sustained severe
15   emotional distress” because of Defendant Troyer’s alleged actions.7 Plaintiff requests relief
16   including economic damages and “[e]motional distress, humiliation, fear, trauma, pain and
17   suffering, and any medical expenses flowing therefrom, and damages to be proved at trial.”8
18           In his Initial Disclosures, Plaintiff identified certain people likely to have discoverable
19   information.9      Additionally, in accordance with Fed. R. Civ. P. 26(a)(1)(A)(ii), Plaintiff
20   represented that he has in his possession, custody, or control certain documents, electronically
21   stored information, and tangible things that he may use to support his claims, identifying
22   1
       ECF 1-1, ¶¶ 4.3 – 4.4.
23
     2
       ECF 1-1, ¶¶ 4.1 – 4.52.
     3
       ECF 1-1, ¶¶ 5.5, 4.13, 4.15, 4.18, 4.16, and 4.20, respectively.
24
     4
       ECF 1-1, ¶¶ 5.4 – 5.7.
     5
       ECF 1-1, ¶ 5.7.
     6
       ECF 1-1, ¶¶ 4.41 and 4.43.
25   7
       ECF 1-1, ¶¶ 4.46 and 4.47.
     8
       ECF 1-1, ¶ 6.1(a) and (b).
26   9
       Declaration of L. Clay Selby in Support of Motion to Compel (“Selby Declaration”), Exhibit A.



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 1   employment records from Steiner Distribution and therapy records by Dr. Katrina Sanford, PsyD.
 2   Finally, regarding computation of categories of damages, Plaintiff identified both economic
 3   damages and “[e]motional distress, humiliation, fear, trauma, pain and suffering, and any medical
 4   expenses flowing therefrom . . . .”
 5   A.       Discovery Requests
 6            On March 14, 2023, Defendant Troyer propounded his First Interrogatories and Requests
 7   for Production to Plaintiff.10 Plaintiff delivered his objections and responses on April 21, 2023,
 8   and his signed verification on April 24, 2023.11
 9            For this Motion to Compel, Defendant Troyer directs the Court’s attention to Interrogatory
10   Nos. 4 and 6 and Request for Production (“RFP”) Nos. 1, 2, and 9, the answers and responses to
11   which Defendant Troyer deems incomplete and insufficient. For ease of tracking, Defendant
12   Troyer will address the discovery requests in the order presented in Defendant Troyer’s First
13   Interrogatories and Requests for Production to Plaintiff.
14            Defendant Troyer’s first RFP reads as follows:
15            REQUEST FOR PRODUCTION NO. 1: Produce all documents and written
              communications, including, but not limited to, letters, cards, emails, text messages,
16            WhatsApp, and/or other messaging application communications, between you and
              the persons identified in your answer to the previous interrogatory for the time
17
              frame of January 1, 2021 to present.
18            The “previous interrogatory” (Interrogatory No. 1) called for Plaintiff to identify “each
19   person you believe to have knowledge with respect to the factual allegations, causes of action,
20   defenses, and/or alleged damages in this matter.” Plaintiff answered Interrogatory No. 1 “See
21   Plaintiff’s Initial Disclosures dated December 1, 2021.” Then Plaintiff responded to RFP No. 1
22   with an objection based on attorney-client privilege, followed by a statement that “Plaintiff has no
23   documents, written communications, or other documentation.” 12 This response is inconsistent
24
25   10
        Selby Declaration, Exhibit B.
     11
        Selby Declaration, Exhibit C.
26   12
        Selby Declaration, Exhibit C, 3:2 – 13.



     DEFENDANT TROYER’S MOTION TO COMPEL DISCOVERY                         LEDGER SQUARE LAW, P.S.
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 1   with Plaintiff’s Initial Disclosures in which Plaintiff claimed to have documents by his employer
 2   and Dr. Sanford.
 3              Defendant Troyer’s next RFP states:
 4              REQUEST FOR PRODUCTION NO. 2: Produce true and complete copies of
                all documents relating to your alleged emotional distress, humiliation, fear, trauma,
 5              pain and suffering, and any medical expenses flowing therefrom. This request is
                meant to include, but is not limited to, written communications with any of the
 6
                persons identified in answer to the previous interrogatory and relating to your
 7              alleged emotional distress, humiliation, fear, trauma, pain and suffering, and any
                medical expenses flowing therefrom.
 8
                In response, Plaintiff objected, alleging attorney-client privilege, overly broad, and vague.
 9
     Plaintiff went on to say “[a]ny documents that may have produced by a treatment provider are not
10
     in Plaintiff’s possession. Without waiving the objection, Plaintiff does not have any written
11
     communications or medical bills. . . .”13 This response is inconsistent with Plaintiff’s Initial
12
     Disclosures, which stated that Plaintiff possessed therapy records from Dr. Sanford.
13
                Next, at Interrogatory No. 4, Defendant Troyer inquired about Plaintiff’s alleged damages:
14              INTERROGATORY NO. 4: Identify any and all damages you allege as a result
15              of the claims asserted in this matter. Your answer should include, without
                limitation, the category of damages (economic, noneconomic, etc.), the amount, the
16              claim for which you believe the damages apply, the manner in which you calculated
                those damages, and the time period in which those damages were alleged to have
17              occurred.
18              After objecting on the grounds of overbroad and vague, Plaintiff answered, in part: “As a
19   result of the encounter with Sheriff Troyer on January 27, 2021, Plaintiff suffered from
20   Post-Traumatic Stress Disorder (PTSD), severe anxiety, stress, depression, and withdrawal.”
21   Plaintiff offered additional explanation of how and when his alleged PTSD symptoms are
22   heightened.14 Notably, however, Plaintiff did not address economic damages, the amount, or the
23   other aspects of the Interrogatory.
24              Finally, Interrogatory No. 6 and RFP No. 9 go together:
25
     13
          Selby Declaration, Exhibit C, 3:21 – 4:4.
26   14
          Selby Declaration, Exhibit C, 4:11 – 5:14.



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                INTERROGATORY NO. 6: Identify all mental health treatment you have sought
 1              at any time prior to, during, or subsequent to the events described in your
 2              Complaint. Your answer should identify, without limitation, the nature of the
                mental health concerns, names of the treatment provider(s), dates of visits, the
 3              nature of your treatment, and the recommended course of treatment, including any
                medications recommended or prescribed.
 4
                REQUEST FOR PRODUCTION NO. 9: Produce all documents related to your
 5              answer to the prior Interrogatory.
 6              In answer to Interrogatory No. 6, Plaintiff stated the following: “Objection, attorney-client
 7   privilege, overly broad, cumulative, and not reasonably calculated to lead to admissible evidence.
 8   Without waiving the objection, Plaintiff has no documentation. Plaintiff reserves the right to
 9   supplement this answer.” Plaintiff repeated this statement in response to RFP No. 9.15
10   B.         Meet and Confer
11              Plaintiff’s discovery responses are inconsistent with his Initial Disclosures and incomplete.
12   Plaintiff is attempting to circumvent his discovery obligations in an attempt to prevent Defendant
13   Troyer from obtaining information and documents relevant to Plaintiff’s claims. As noted above,
14   Plaintiff alleges a host of severe mental health conditions and damages, yet he has failed to produce
15   therapy records purportedly in his possession, custody, or control, and he has not identified any
16   treatment provider. Likewise, Plaintiff failed to elaborate on his damages claim, including failing
17   to identify economic damages, the amount of same, the calculation of such damages, etc.
18              On May 5, 2023, Defendant Troyer’s counsel sent Plaintiff’s counsel a letter outlining his
19   concerns and requesting a meet and confer conference.16 Also, the May 5, 2023, correspondence
20   notified Plaintiff’s counsel of Defendants’ request for Plaintiff to agree to participate in a mental
21   examination pursuant to Fed. R. Civ. P. 35. Defendant Troyer’s counsel identified the examiner
22   as Alan W. Newman, M.D., L.F.A.P.A. and advised that Dr. Newman requests at least one full
23   day if performed in person or two half-days if performed by Zoom. Defendant Troyer’s counsel
24
25
     15
          Selby Declaration, Exhibit C, 8:8 – 21.
26   16
          Selby Declaration, Exhibit D.



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 1   informed Plaintiff’s counsel that Dr. Newman requests to record the entire examination and that
 2   Plaintiff not be accompanied by any person in the room during examination.17
 3              Plaintiff’s counsel and Defendant Troyer’s attorney met and conferred by telephone on
 4   May 11, 2023. During the call, Plaintiff’s counsel advised that Dr. Katrina Sanford’s inclusion on
 5   Plaintiff’s Initial Disclosures was a “scrivener’s error.” Plaintiff’s counsel declined to identify any
 6   medical provider for Plaintiff, including physician, therapist, or counselor. As for damages,
 7   Plaintiff’s counsel conceded that Plaintiff is not seeking economic damages despite statements to
 8   the contrary in Plaintiff’s Complaint and Initial Disclosures. Plaintiff’s counsel refused to amend
 9   or supplement any of Plaintiff’s answers or responses to Defendant Troyer’s First Interrogatories
10   and Requests for Production.
11              Likewise, Plaintiff’s counsel rejected Defendant Troyer’s request for a mental examination
12   of Plaintiff.18
13   C.         The Rule 35(a) Examination
14              Plaintiff claims to have suffered severe emotional distress as a result of Defendant Troyer’s
15   alleged actions. Among other things, Plaintiff claims that he suffers from PTSD, severe anxiety,
16   stress, depression, and withdrawal. Plaintiff has not produced any documentation to support these
17   claims, and he has apparently withdrawn the one person previously identified as a therapist
18   (Dr. Sanford). Therefore, Defendants seek a mental examination of Plaintiff so they may evaluate
19   Plaintiff’s claimed condition and damages.
20                                            III.   ISSUES PRESENTED
21              1.       Plaintiff claims that he suffers from PTSD, severe anxiety, stress, depression, and
22   withdrawal as a result of his encounter with Defendant Troyer. Additionally, Plaintiff has
23   previously stated that he seeks economic damages in this lawsuit. Plaintiff has failed to identify
24   any medical provider, therapist, or counselor with whom he has ever treated, and he has failed to
25
     17
          Selby Declaration, ¶ 6 and Exhibit E.
26   18
          Selby Declaration, ¶ 7.



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 1   provide information regarding his alleged economic damages. Should the Court enter an Order
 2   compelling Plaintiff fully and completely respond to Defendant Troyer’s Interrogatory Nos. 4
 3   and 6 and RFP Nos. 1, 2, and 9?
 4           2.       Plaintiff contends that he suffers from PTSD, severe anxiety, stress, depression, and
 5   withdrawal as a result of his encounter with Defendant Troyer. Should the Court enter an Order
 6   directing Plaintiff to undergo a mental examination with Alan W. Newman, M.D., L.F.A.P.A. to
 7   determine the nature and extent of Plaintiff’s conditions and damages?
 8                                              IV.      ARGUMENT
 9   A.      Fed. R. Civ. P. 26(b) provides for broad discovery.
10           A party may obtain discovery regarding any nonprivileged matter that is relevant to any
11   party’s claim or defense and proportional to the needs of the case, considering the importance of
12   the issues at stake, the amount in controversy, the parties’ relative access to relevant information,
13   the parties’ resources, the importance of the particular discovery in resolving issues, and whether
14   the burden or expense of the discovery outweighs its likely benefit.19
15           “Relevant” is not defined but has been broadly construed to mean “any matter that bears
16   on, or that reasonably could lead to other matters that could bear on, any issue that is or may be in
17   the case.”20 The Court has broad discretion in considering the factors regarding whether the
18   requested discovery is proportional to the needs of the case.21
19           In the case at bar, the discovery requests at issue seek information and documents relating
20   to persons with relevant knowledge, Plaintiff’s alleged emotional distress damages and related
21   mental health conditions, and Plaintiff’s damages. The discovery requests go to the core of this
22   case and request information and documents particularly within Plaintiff’s possession, custody, or
23   control. Plaintiff has stymied Defendant Troyer’s ability to investigate Plaintiff’s claims and
24
25   19
        Fed. R. Civ. P. 26(b)(1).
     20
        Oppenheimer Funds, Inc. v. Sanders, 437 U.S. 340, 351 (1978).
26   21
        JP Morgan Chase Bank, N.A. v. DataTreasury Corp., 936 F.3d 251, 260 (5th Cir. 2019).



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 1   alleged damages and to support his own defenses.            Therefore, the requested discovery is
 2   proportional to the needs of this case.
 3   B.      Plaintiff has failed to respond to discovery, or in some instances, has provided
             responses inconsistent with his Complaint and Initial Disclosures.
 4
             1.       RFP No. 1. In his Initial Disclosures, Plaintiff identified his employer, Darin
 5
     Steiner, as a person likely to have discoverable information that Plaintiff may use to support his
 6
     claims. Plaintiff stated that he had within his possession, custody, or control employment records
 7
     from Mr. Steiner. In response to Defendant Troyer’s Interrogatory No. 1 (persons with knowledge
 8
     with respect to the factual allegations, causes of action, defenses, and/or alleged damages), Plaintiff
 9
     referred to his Initial Disclosures.      However, in response to RFP No. 1, which demanded
10
     production of documents and written communications with persons identified in answer to
11
     Interrogatory No. 1, Plaintiff stated that he has “no documents, written communication, or other
12
     documentation.” This is inconsistent with Plaintiff’s Initial Disclosures. Defendant Troyer asks
13
     the Court to direct Plaintiff to produce the employment records identified in his Initial Disclosures,
14
     along with any other responsive documents relating to Darin Steiner.
15
             Similarly, in his Initial Disclosures, Plaintiff identified therapy records from Dr. Katrina
16
     Sanford, PsyD, as being in his possession, custody, or control, yet he did not produce any records
17
     from Dr. Sanford in response to RFP No. 1. At the meet and confer conference, Plaintiff’s counsel
18
     advised that the reference to Dr. Sanford in the Initial Disclosures was a “scrivener’s error,” but to
19
     date, Plaintiff has not amended his Initial Disclosures or supplemented his response to RFP No. 1.
20
     Defendant Troyer requests that the Court direct Plaintiff to either produce responsive records or
21
     amend his Initial Disclosures to remove Dr. Sanford.
22
             2.       RFP No. 2. Defendant Troyer requested production of “all documents relating to
23
     your alleged emotional distress, humiliation, fear, trauma, pain and suffering, and any medical
24
     expenses flowing therefrom.”        Defendant Troyer borrowed this language from Plaintiff’s
25
     Complaint and Initial Disclosures. Documentation relating to Plaintiff’s alleged condition(s) is
26


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 1   relevant and permissible with the scope of Fed. R. Civ. P. 26(b). As noted above, in his Initial
 2   Disclosures, Plaintiff identified therapy records from Dr. Katrina Sanford as being in his
 3   possession, custody, or control. Plaintiff’s Response to RFP No. 2 is vague and inconsistent with
 4   his Initial Disclosures. Plaintiff states “[a]ny documents that may have been produced by a
 5   treatment provider are not in Plaintiff’s possession.”       This does not answer whether such
 6   documents are in Plaintiff’s control.       Plaintiff went on to state that he has no written
 7   communications or medical bills. Plaintiff produced no documents in response to this RFP. At
 8   the meet and confer conference, Plaintiff’s counsel advised that Plaintiff’s inclusion of Dr. Sanford
 9   in his Initial Disclosures was a “scrivener’s error,” but she did not identify any other treatment
10   provider or otherwise offer to supplement Plaintiff’s response. Defendant Troyer asks the Court
11   to direct Plaintiff to produce all responsive records within his possession, custody, or control, as
12   permitted by Fed. R. Civ. P. 34.
13           3.       Interrogatory No. 4. Defendant Troyer’s Interrogatory No. 4 seeks detail regarding
14   Plaintiff’s alleged damages. This request builds off of Fed. R. Civ. P. 26(a)(1)(A)(iii), which
15   requires a computation of each category of damages. Plaintiff has claimed economic damages in
16   both his Complaint and Initial Disclosures. In his Answer to this Interrogatory, however, Plaintiff
17   failed to categorize his alleged damages, state the amount of purported damages, the claim or
18   claims for which they apply, the manner in which he calculated damages, or the time period in
19   which they allegedly occurred, all of which were requested in the interrogatory. At the meet and
20   confer conference, Plaintiff’s counsel eventually conceded that Plaintiff is not alleging or seeking
21   economic damages. Other than that oral concession, Plaintiff’s counsel declined to supplement
22   Plaintiff’s Answer. Defendant Troyer asks the Court to direct Plaintiff to supplement his Answer,
23   at a minimum confirming that he is withdrawing any claim for economic damages.
24           4.       Interrogatory No. 6 and RFP No. 9. Plaintiff has made his mental health a central
25   issue in this lawsuit. Plaintiff’s Complaint and Initial Disclosures identify “[e]motional distress,
26   humiliation, fear, trauma, pain and suffering,” and therefore, Defendant Troyer’s request for


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 1   identification of all mental health treatment prior to, during, or subsequent to the events at issue in
 2   this lawsuit sought information and documentation relevant to the claims, defenses, and damages
 3   in this lawsuit. Interrogatory No. 6 specifically asked Plaintiff to identify the nature of mental
 4   health concerns, names of treatment providers, dates of visits, and nature and course of treatment.
 5   Plaintiff’s statement in response to Interrogatory No. 4 that he “has suffered from Post-Traumatic
 6   Stress Disorder (PTSD), severe anxiety, stress, depression, and withdrawal,” cements the
 7   relevance of the information sought in Interrogatory No. 6 and the documentation requested in
 8   RFP No. 9. In answering Interrogatory No. 6, Plaintiff sidestepped the interrogatory entirely,
 9   failing to identify his mental health concerns, treatment providers, dates of visits, or nature and
10   course of treatment. Instead, he stated simply that he possesses no documents. Plaintiff’s Answer
11   is nonresponsive and a blatant attempt to conceal relevant evidence. Plaintiff’s Response to RFP
12   No. 9 takes the same position. Defendant Troyer asks the Court to direct Plaintiff to supplement
13   his Answer to Interrogatory No. 6 with all of the requested information. Further, the Court should
14   order Plaintiff to supplement his Response to RFP No. 9 by producing responsive documents
15   within his possession, custody, or control.
16   C.      There is good cause to direct Plaintiff to undergo a Rule 35(a) examination.
17           The Court may order a party to undergo a physical or mental examination following a
18   motion showing good cause.22 “Rule 35(a) is to be construed liberally in favor of granting
19   discovery.”23 When a plaintiff has affirmatively placed in controversy his mental condition, good
20   cause exists to order an examination under Rule 35(a).24 In instances where the plaintiff has placed
21   the severity of his emotional problems in the record, and they will play a central role in the case,
22   there is good cause for a Rule 35(a) mental examination.25
23
24   22
        Fed. R. Civ. P. 35(a).
     23
        Eckman v. University of Rhode Island, 160 F.R.D. 431, 433 (D. R.I. 1995) citing Cody v. Marriott Corp.,
25
     103 F.R.D. 421 (D. Mass. 1984).
     24
        Fed. R. Civ. P. 35(a); see also Schlagenhauf v. Holder, 39 U.S. 104, 119 (1964).
26   25
        Eckman v. University of Rhode Island, 160 F.R.D. at 434.



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 1              Here, Plaintiff placed his mental condition in controversy in his Complaint and then again
 2   with his Answer to Interrogatory No. 4 when he stated that “As a result of the encounter with
 3   Sheriff Troyer on January 27, 2021, Plaintiff has suffered from Post-Traumatic Stress Disorder
 4   (PTSD), severe anxiety, stress, depression, and withdrawal.” Defendants question the existence,
 5   extent, and causation of Plaintiff’s alleged emotional injuries and should be permitted an
 6   opportunity to investigate these issues via a mental examination conducted by a qualified medical
 7   professional.
 8              Defendant Troyer requests that the Court enter an Order compelling Plaintiff to participate
 9   in a Rule 35(a) mental examination on a mutually agreed upon date between June 19 – 30, 2023,
10   with Alan W. Newman, M.D., L.F.A.P.A. At the meet and confer, Plaintiff’s counsel declined to
11   agree to the Rule 35(a) examination but did not offer any bases for their position.
12              Dr. Newman is Chair of the Department of Psychiatry at California Pacific Medical Center,
13   Sutter Health, in San Francisco, California and has served as an expert witness in Forensic
14   Psychiatry since 2014, having testified in multiple jurisdictions across the country, including
15   Washington. Regarding the anticipated four-to-eight-hour examination itself, Dr. Newman is
16   willing to be flexible whether it be conducted in person or by Zoom, but he does ask that the Court
17   permit him a full day if in person and two half-days if by Zoom. Dr. Newman requests the right
18   to record the entire examination. The rationale behind this request is that by recording the
19   examination, there is a ready means of determining what was actually said or done in the event of
20   disagreement after the fact. Also, the Court should restrict the examination to Dr. Newman and
21   Plaintiff to ensure that there is no interference or distraction during the process. Dr. Newman's
22   examination would utilize, among other things, the Trauma Symptom Inventory, the Adverse
23   Childhood Experiences Scale, the Personality Assessment Inventory, QuickSCID-5, a
24   Mini-International Neuropsychiatric Interview, a forensic interview, and a Cognistat Cognitive
25   Assessment.26
26   26
          Selby Declaration, ¶ 6.



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     RESPONSES AND FED. R. CIV. P. 35(a) EXAMINATION - 11                          710 Market St.
     Cause No. 2:21-cv-01437 RSM                                                 Tacoma, WA 98402
                                                                               Phone: (253) 327-1900
                                                                              Facsimile: (253) 327-1700
                       Case 2:21-cv-01437-RSM Document 27 Filed 05/18/23 Page 12 of 13




 1           Due to Dr. Newman’s schedule and the August 2, 2023 expert testimony disclosure
 2   deadline, Defendant Troyer requests the window of June 19 – 30, 2023 for the examination. This
 3   should allow Dr. Newman sufficient time to complete his evaluation before the deadline.
 4                                       V.      CONCLUSION
 5           Plaintiff claims that Defendant Troyer’s actions have caused him severe mental conditions
 6   for which he seeks substantial damages, yet Plaintiff has failed to answer discovery with
 7   information and documents relevant to the claims, defenses, and/or damages at issue, and he has
 8   declined to participate in a mental examination. Plaintiff wants to have his cake and eat it, too.
 9   By placing his mental condition in controversy, he has subjected himself to discovery about his
10   mental health and alleged damages. Defendant Troyer respectfully requests that the Court enter
11   an Order compelling Plaintiff to supplement his Answers to Interrogatory Nos. 4 and 6 and his
12   Responses to RFP Nos. 1, 2, and 9. Additionally, Defendant Troyer asks that the Order compel
13   Plaintiff to participate in a Rule 35(a) mental examination on a mutually agreed date between
14   June 19 – 30, 2023 with Dr. Alan W. Newman on the conditions identified in the proposed Order
15   filed herewith.
16           DATED this 18th day of May 2023.
17                                                     LEDGER SQUARE LAW, P.S.

18                                                     By:         s/ L. Clay Selby
                                                             L. Clay Selby, WSBA # 26049
19                                                           Eric F. Schacht, WSBA # 56342
                                                             Ledger Square Law, P.S.
20
                                                             710 Market St.
21                                                           Tacoma, WA 98402
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22                                                           Facsimile: (253) 327-1700
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23                                                                         eric@ledgersquarelaw.com
                                                             Attorneys for Defendant Troyer
24
25

26


     DEFENDANT TROYER’S MOTION TO COMPEL DISCOVERY                      LEDGER SQUARE LAW, P.S.
     RESPONSES AND FED. R. CIV. P. 35(a) EXAMINATION - 12                      710 Market St.
     Cause No. 2:21-cv-01437 RSM                                             Tacoma, WA 98402
                                                                           Phone: (253) 327-1900
                                                                          Facsimile: (253) 327-1700
                      Case 2:21-cv-01437-RSM Document 27 Filed 05/18/23 Page 13 of 13




                                     CERTIFICATE OF SERVICE
 1
 2           The undersigned certifies under the penalty of perjury under the laws of the State of
 3   Washington that I am now and at all times herein mentioned a resident of the State of Washington,

 4   over the age of eighteen years, not a party to or interested in the above-entitled action, and
     competent to be a witness herein.
 5
             On the date given below, I caused to be served the foregoing document on the following
 6
     persons and in the manner listed below:
 7
 8                                                   
 9         Susan B. Mindenbergs                         CM/ECF
           Law Office of Susan B. Mindenbergs           Via Legal Messenger
10         705 Second Ae., Suite 1050                   Overnight Courier
           Seattle, WA 98104-1759                       Electronically via email
11                                                      Facsimile
12                                                   
13         Vonda M. Sargent                             CM/ECF
           The Law Office of Vonda M. Sargent           Via Legal Messenger
14         119 First Ave. S, Suite 500                  Overnight Courier
           Seattle, WA 98104-3400                       Electronically via email
15                                                      Facsimile
16                                                   
           Gregory E. Jackson                           CM/ECF
17
           Jackson & Nicholson, P.S.                    Via Legal Messenger
18         900 SW 16th St., Suite 215                   Overnight Courier
           Renton, WA 98057-2619                        Electronically via email
19                                                      Facsimile
20

21           DATED this 18th day of May 2023, at Tacoma, Washington.

22
                                                         s/ Amy Jean Shackelford
23                                               Amy Jean Shackelford, PP, PLS
                                                 Legal Assistant to L. Clay Selby and
24                                               Eric F. Schacht
25

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     DEFENDANT TROYER’S MOTION TO COMPEL DISCOVERY                     LEDGER SQUARE LAW, P.S.
     RESPONSES AND FED. R. CIV. P. 35(a) EXAMINATION - 13                     710 Market St.
     Cause No. 2:21-cv-01437 RSM                                            Tacoma, WA 98402
                                                                          Phone: (253) 327-1900
                                                                         Facsimile: (253) 327-1700
